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                                                                                                        Processing Month:              09-22              9335
               TRANSACTION SERVICES
               18 ELIZABETH STREET                                                                      Association Number:            030040
               SUITE 110
               WEST CONSHOHOCKEN, PA 19428                                                              Merchant Number:               xxxxxxxxxxx8720
                                                                                                        Routing Number:

                                                                                                        Deposit Account Number:




               JOHN STRAND                                                                              Amount Deducted:
               JOHN STRAND                                                                              $ 283.28




                                                                    Plan Summary
Plan      Number of      Amount of    Number of         Amount of                   Net           Average                Disc          Disc            Discount
Code         Sales          Sales       Credits           Credits                 Sales             Ticket                P/I            %                 Due
VS              49       2,550.00           00               .00            2,550.00               52.04            0.10000         0.3000               12.55
VD              43       1,942.00           00               .00            1,942.00               45.16            0.10000         0.3000               10.13
VB              00            .00           00               .00                 .00                 .00            0.10000         0.3000                 .00
V$              00            .00           00               .00                 .00                 .00            0.10000         0.3000                 .00
VL              00            .00           00               .00                 .00                 .00            0.10000         0.3000                 .00
MC              33       1,746.00           00               .00            1,746.00               52.91            0.10000         0.3000                8.54
MD              16         837.00           00               .00              837.00               52.31            0.10000         0.3000                4.11
MB              01         100.00           00               .00              100.00              100.00            0.10000         0.3000                 .40
M$              00            .00           00               .00                 .00                 .00            0.10000         0.3000                 .00
ML              00            .00           00               .00                 .00                 .00            0.10000         0.3000                 .00
AM              18         867.00           00               .00              867.00               48.17            0.10000         0.3000                4.40
DS              04         120.00           00               .00              120.00               30.00            0.10000         0.3000                 .76
DD              00            .00           00               .00                 .00                 .00            0.10000         0.3000                 .00
DZ              03          45.00           00               .00               45.00               15.00            0.10000         0.3000                 .44
D$              00            .00           00               .00                 .00                 .00            0.10000         0.3000                 .00
DJ              00            .00           00               .00                 .00                 .00            0.10000         0.3000                 .00
**             167       8,207.00           00               .00            8,207.00               49.14                                                 41.33


                                                                       Deposits
       Reference          Tran Plan        Number of           Amount of            Amount of                Discount
Day    Number             Code Code           Sales               Sales               Credits                    Paid              Non Settled           Settled
13     90001010014        D     T                  04           135.00                    .00                    .00                      .00           135.00
14     90001020076        D     T                  48         2,583.00                    .00                    .00                      .00         2,583.00
15     90001030086        D     T                  10           895.00                    .00                    .00                      .00           895.00
16     90001040099        D     T                  13           630.00                    .00                    .00                      .00           630.00
19     90001070149        D     T                  13           432.00                    .00                    .00                      .00           432.00
19     90001050107        D     T                  07           165.00                    .00                    .00                      .00           165.00
19     90001060136        D     T                  24         1,080.00                    .00                    .00                      .00         1,080.00
20     90001080156        D     T                  07           480.00                    .00                    .00                      .00           480.00
21     90001090175        D     T                  17           567.00                    .00                    .00                      .00           567.00
22     90001100182        D     T                  07           320.00                    .00                    .00                      .00           320.00
23     90001110190        D     T                  06           385.00                    .00                    .00                      .00           385.00
26     90001120192        D     T                  02            75.00                    .00                    .00                      .00            75.00
26     90001130196        D     T                  03           250.00                    .00                    .00                      .00           250.00
27     90001140197        D     T                  01            50.00                    .00                    .00                      .00            50.00
28     90001150199        D     T                  01            50.00                    .00                    .00                      .00            50.00
29     90001160201        D     T                  02            75.00                    .00                    .00                      .00            75.00
30     90001170203        D     T                  02            35.00                    .00                    .00                      .00            35.00
       Deposit Totals                             167         8,207.00                    .00                    .00                                  8,207.00




                                                        PLAN CODES                                                                   TRANSACTION CODES
VS -VISA                MC -MASTERCARD                    DS -DISCOVER                JC -JCB      DB -DEBIT       T -ALL PLANS      D -DEPOSIT
VL -VISA LARGE TICKET   ML -MASTERCARD LARGE TICKET       DD - DISCOVER DEBIT         EB -EBT      PP -PAYPAL      1 -PLAN ONE       C -CHARGEBACK
VD -VISA DEBIT          MD -MASTERCARD DEBIT              DZ -DISCOVER BUSINESS       AM -AMERICAN EXPRESS         2 -PLAN TW O      A -ADJUSTMENT
VB -VISA BUSINESS       MB -MASTERCARD BUSINESS           DJ -DISCOVER JCB            EC -ELECTRONIC CHECK         3 -PLAN THREE     B -CHARGEBACK REVERSAL
V$ -VISA CASH ADVANCE   M$ -MASTERCARD CASH ADVANCE       D$ -DISCOVER CASH ADV       AC -ACH as a Tran
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                                                                      Fees
    Count            Amount     Rate %    Rate Per Item Description                                                        Fees Paid      Total

AUTHORIZATION FEES:
     28                                       0.10000 Authorization Amex                                                          .00     2.80
    177                                       0.10000 Authorization                                                               .00    17.70
                                                                                                            Total Authorization Fees:    20.50
INTERCHANGE FEES / AMERICAN EXPRESS PROGRAM FEES:
     12            295.00 1.6500     0.15000 VS CPS eComm Basic Debit                                                          .00        6.66
     02             75.00 1.8900     0.10000 VS VT Product 1                                                                   .00        1.62
     03             75.00 2.0400     0.10000 VS VTR Product 1                                                                  .00        1.83
     15            515.00 2.0500     0.10000 VS VIN Product 1                                                                  .00       12.06
     19            585.00 2.5000     0.10000 VS VSP VIQ Product 1                                                              .00       16.57
     01            100.00 1.6500     0.10000 VS VT Services Non Token                                                          .00        1.75
     02            350.00 1.8000     0.10000 VS VTR Services Non Token                                                         .00        6.50
     01            100.00 1.9500     0.10000 VS VIN Services Non Token                                                         .00        2.05
     06            750.00 2.4000     0.10000 VS VSP VIQ Services Non Token                                                     .00       18.60
     31          1,647.00 0.0500     0.22000 VS US Regulated Debit                                                             .00        7.66
     02             50.00 1.9500     0.10000 MC Merit I Credit                                                                 .00        1.18
     08            697.00 1.6500     0.15000 MC Merit I Debit                                                                  .00       12.70
     07            335.00 2.1000     0.10000 MC Enhanced Merit I                                                               .00        7.75
     05            200.00 2.2000     0.10000 MC World Merit I                                                                  .00        4.90
     12            775.00 2.6000     0.10000 MC World Elite Merit I                                                            .00       21.35
     01            100.00 2.9500     0.10000 MC Business Level 4 Data Rate I                                                   .00        3.05
     01              5.00 2.6000     0.02000 MC World Elite Small Ticket Card Not Present                                      .00         .15
     06            381.00 2.6000     0.10000 MC High Value Merit I                                                             .00       10.51
     07            125.00 0.0500     0.22000 MC US Cons Regulated POS Debit w/Fraud Adj                                        .00        1.63
     01             15.00 1.7600     0.20000 MC Merit I Prepaid                                                                .00         .46
     18            867.00 1.6500     0.10000 AM B2B/Wholesale Tier 1                                                           .00       16.13
     03             45.00 2.4500     0.15000 DS Commercial Electronic Submission Level                                         .00        1.56
     02             75.00 2.0300     0.10000 DS e-Commerce Rewards                                                             .00        1.73
     02             45.00 2.0500     0.10000 DS e-Commerce Premium                                                             .00        1.12
                                                                         Total Interchange Fees / American Express Program Fees:        159.52
TRANSACTION FEES:
     17                              0.15000 Batch Fee                                                                         .00        2.55
                                                                                                           Total Transaction Fees:        2.55
CARD BRAND FEES:
     64                              0.01950 VS-NAPF-Credit                                                                    .00        1.25
     48                              0.01550 VS-NAPF-Debit                                                                     .00         .74
     49          2,550.00 0.1400             VS-ASSMNT CREDIT                                                                  .00        3.67
     43          1,942.00 0.1300             VS-ASSMNT DEBIT                                                                   .00        2.52
     92          4,492.00            0.00180 VS-VS TRANSMFEE                                                                   .00         .17
     50          2,683.00 0.1300             MC-ACQ Brand Volume                                                               .00        3.48
     50          2,683.00 0.0125             MC-MC Acq Licn Fee                                                                .00         .34
     54                              0.01950 MC-NABU Auth                                                                      .00        1.05
     54                              0.00070 MC-MC Sfe Nt Aq Fee                                                               .00         .04
     51          2,783.00 0.0200             MC-DIGITAL ENBLMT                                                                 .00        1.10
     18            867.00            0.02000 AM-Amex AcqTransFee                                                               .00         .36
     18            867.00 0.3000             AM-Non-Swiped Tr                                                                  .00        2.59
     18            867.00 0.1650             AM-AM USASSMNTFEE                                                                 .00        1.43
     07            165.00 0.1400             DS-DS Assessment                                                                  .00         .23
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               TRANSACTION SERVICES
                                                                                                               Processing Month:            09-22              9335
               18 ELIZABETH STREET
               SUITE 110                                                                                       Association Number:          030040
               WEST CONSHOHOCKEN, PA 19428
                                                                                                               Merchant Number:             xxxxxxxxxxx8720
                                                                                                               Routing Number:

                                                                                                               Deposit Account Number:




               JOHN STRAND
               JOHN STRAND                                                                                     Amount Deducted:
                                                                                                               $ 283.28




                                                                          Fees - continued
     Count              Amount     Rate %     Rate Per Item Description                                                                        Fees Paid           Total

CARD BRAND FEES:
     09                                          0.00500 DS-DS AVS                                                                                  .00          .05
     07          165.00                          0.00250 DS-DISC Data Usage                                                                         .00          .02
     07          165.00           0.0100                 DS-DS Dig Invt Fee                                                                         .00          .02
     09                                          0.01900 DS-DS Ntwk Auth Fee                                                                        .00          .17
     18          867.00           0.1500                 Amex Program Fee                                                                           .00         1.30
                                                                                                                                 Total Card Brand Fees:        20.53
OTHER FEES:
                                                10.00000 Statement Fee                                                                               .00       10.00
                                                10.00000 Pci Compliance Fee                                                                          .00       10.00
                                                 1.25000 MasterCard Location Fee                                                                     .00        1.25
      176                                        0.10000 Avs Fee                                                                                     .00       17.60
                                                                                                                                       Total Other Fees:       38.85
                                                                                                                                       Total Fees Due:        241.95



                                                 Discount Due                                                 41.33
                                                 Fees Due                                                    241.95
                                                 Amount Deducted                                             283.28



                        IMPORTANT INFORMATION
                        THE CARD BRANDS HAVE RECENTLY MODIFIED THEIR INTERCHANGE PROGRAMS. DUE TO
                        THESE CHANGES MERCHANTS ON A THREE-TIER PRICING STRUCTURE WILL SEE A .3%
                        INCREASE TO THEIR NON-QUALIFIED RATE. THIS WILL BE EFFECTIVE ON THE
                        SEPTEMBER BILLING STATEMENT
                        ATTENTION MERCHANTS WITHOUT A DIRECT RELATIONSHIP WITH AMERICAN EXPRESS.
                        TRX IS ASSESSED A 15-BASIS POINT PROGRAM SPONSORSHIP FEE TO PARTICIPATE IN
                        DIRECT AMERICAN EXPRESS PROCESSING. EFFECTIVE ON YOUR SEPTEMBER STATEMENT
                        TRX WILL PASS THROUGH THIS FEE TO CLIENTS WHO NOT BEING ASSESSED THIS
                        CHARGE.




                                                           PLAN CODES                                                                     TRANSACTION CODES
VS -VISA                  MC -MASTERCARD                     DS -DISCOVER                    JC -JCB      DB -DEBIT    T -ALL PLANS       D -DEPOSIT
VL -VISA LARGE TICKET     ML -MASTERCARD LARGE TICKET        DD - DISCOVER DEBIT             EB -EBT      PP -PAYPAL   1 -PLAN ONE        C -CHARGEBACK
VD -VISA DEBIT            MD -MASTERCARD DEBIT               DZ -DISCOVER BUSINESS           AM -AMERICAN EXPRESS      2 -PLAN TW O       A -ADJUSTMENT
VB -VISA BUSINESS         MB -MASTERCARD BUSINESS            DJ -DISCOVER JCB                EC -ELECTRONIC CHECK      3 -PLAN THREE      B -CHARGEBACK REVERSAL
V$ -VISA CASH ADVANCE     M$ -MASTERCARD CASH ADVANCE        D$ -DISCOVER CASH ADV           AC -ACH as a Tran
